        Case 1:22-cr-00114-TBM-RPM Document 28 Filed 02/03/23 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA

v.                                                     CRIMINAL NO. 1:22cr114-TBM-RPM

WALTON STEPHEN VAUGHAN

                          MOTION TO CONTINUE PLEA HEARING

        COMES NOW the defendant, Walton Stephen Vaughan, and respectfully moves this

Court for an order to continue the plea hearing set for February 10, 2023, for the following

reasons and in so doing waives his right to a Speedy Trial:

                                                 I.

        On October 4, 2022, Mr. Vaughan made his initial appearance on the one-count

indictment filed in this case. On this date, the Federal Public Defender was appointed as counsel.

                                                II.

        On January 17, 2023, the defendant entered notice of his intent to plead guilty, and his

plea hearing was thereafter scheduled for February 10, 2023.

                                                III.

        The undersigned counsel is scheduled to be out of the office on military leave.   As such,

the undersigned respectfully requests that Vaughan’s plea hearing be continued to February 17,

2023.

                                                IV.

        The United States does not oppose the Defendant’s request for continuance, and the

Defendant submits that the requested continuance will serve the ends of justice and is not sought

for purposes of delay.
      Case 1:22-cr-00114-TBM-RPM Document 28 Filed 02/03/23 Page 2 of 2




       WHEREFORE PREMISES CONSIDERED, the Defendant respectfully requests that his

Motion be granted and for such other and further relief that the Court deems just and proper.

       Respectfully submitted this the 3rd day of February 2023.

                                             WALTON STEPHEN VAUGHAN, Defendant

                                      By:    /s/John W. Weber
                                             John W. Weber III, MB #101020
                                             Assistant Federal Public Defender
                                             Southern District of Mississippi
                                             2510 14th Street, Suite 902
                                             Gulfport, MS 39501
                                             Phone: (228) 865-1202
                                             Fax: (228) 867-1907
                                             Email: john_weber@fd.org
                                             Attorney for Defendant


                                CERTIFICATE OF SERVICE

       I, John W. Weber III, do hereby certify that I have this day electronically filed the

foregoing motion with the Clerk of the Court using the ECF system which sent notification of

such filing to the Assistant United States Attorney Andrea Jones.

       SO CERTIFIED, this the 3rd day of February 2023.

                                             /s/John W. Weber
                                             Assistant Federal Public Defender




                                                 2
